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         ORDERED in the Southern District of Florida on July 2, 2023.



                                                               Peter D. Russin, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION


         In re:                                                       Case No.: 23-11676-PDR
         JERRY PEREZ,                                                 Chapter 7

                        Debtor.                        /


                                  ORDER GRANTING DEBTOR’S EX-PARTE
                                  MOTION TO DELAY DISCHARGE [DE #31]


                THIS MATTER came before the Court on an Ex-Parte Basis, on the Debtor’s Motion to

         Delay Discharge (DE #31; the “Motion”). With the Court having reviewed the content of the

         Motion, the Court file in this case, and for good cause shown, it is

         ORDERED that:

         1.     The Motion To Delay Discharge is GRANTED.

         2.     The request for the Delay of Discharge is GRANTED for thirty (30) days from the date of

         the entry of this order to enable the Debtor and Creditor, Compass Financial Federal Credit Union,

         to   file a Reaffirmation Agreement for the             Debtor’s       2017 Nissan Altima,   VIN
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#1N4AL3AP1HN342537 (“Vehicle”).

3.     In the event that said Reaffirmation Agreement is not filed by the deadline listed in this

order, the Order of Discharge shall be entered.

                                                  ###

Submitted by:

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Chad Van Horn, Esq. is hereby directed to provide a conformed copy of this Order to all parties-
in-interest and to file a Certificate of Service as to same.
